IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHWESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,

v No Ale Aad O- C2-S-Mat

JOSHUA SANDERS,

 

Defendant.

PLEA AGREEMENT

 

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1; The Parties. The parties to this agreement are the United States Attorney’s
Office for the Western District of Missouri (otherwise referred to as “the Government” or
“the United States”), represented by Teresa A. Moore, Acting United States Attorney, and
Patrick Carney, Assistant United States Attorney, and the defendant, Joshua Sanders (“the
defendant”), represented by Adam Woody, Attorney for the Defendant.

The defendant understands and agrees that this plea agreement is only between him
and the United States Attorney for the Western District of Missouri, and that it does not
bind any other federal, state, or local prosecution authority or any other government
agency, unless otherwise specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead
guilty to the one-count information, charging him in Count | with a violation of 18 U.S.C.

§ 1029(a)(5), that is access devices fraud. Furthermore, the defendant admits the forfeiture

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allegation set forth within the information. By entering into this plea agreement, the
defendant admits that he knowingly committed these offenses, and is in fact guilty of these
offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting

 

the offense to which he is pleading guilty are as follows:

Count One — Access Devices Fraud — 18 U.S.C. § 1029(a)(5): Between
June 1, 2015, and September 1, 2018, in Greene County, in the Western
District of Missouri, the defendant, JOSHUA SANDERS (“SANDERS”),
knowingly and fraudulently conducted financial transactions with an access
device, that being credit cards, debit cards, identification cards, and personal
identification numbers, issued to one or more individuals for purpose of
fraudulently receiving monies or items of value without the permission of the
individuals who were lawfully issued those credit cards, debit cards,
identification cards, and personal identification numbers.

Specifically, SANDERS knowingly and fraudulently conducted credit card
transactions in the name of Jenkins Diesel, that purported to be for the
purchase of a computer hardware and software needed for the operations of
Jenkins Diesel as a business entity. SANDERS created supporting
documentation that corresponded to the monthly credit card statement in an
effort to explain his use of the Jenkins Diesel’s company credit card to
business officials. SANDERS was not authorized to use the Jenkin Diesel’s
company credit card for any personal or nonbusiness related expenses. Upon
leaving the employment of Jenkins Diesel, a thorough examination of
SANDERS’ expenditure on the company credit were examined and it was
determined that SANDERS used this credit card for personal expenses,
unrelated to the business of Jenkins Diesel. It was further determined that the
documentation created and provided by SANDERS to explain his credit card
statements and transactions were entirely fraudulent and were created to
conceal SANDERS’ fraudulent use of the company credit card from other
business officials.

Ultimately, SANDERS fraudulently used the access device; to wit: the credit
card of Jenkins Diesel, to purchase items for his personal use that were then

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sent through the United States Postal Service and other private carriers by
business entities engaged in interstate commerce to SANDERS for his
personal use. SANDERS fraudulently used the access device to purchase
items that had nothing to do with Jenkins Diesel, without the authority of the
lawful account holder of the aforementioned credit card, therein allowing
SANDERS to obtain money and property from business entities engaged in
interstate commerce. The total amount of the monies and property obtained
by SANDERS, while fraudulently using the access devices of other
individuals, exceeded an aggregate value of more than $1,000 during the
aforementioned period of time. More specifically, between June 1, 2015, and
September 1, 2018, SANDERS fraudulently utilized the Jenkins Diesel credit
card for unauthorized purchases that amounted to $82,210.00. All in violation
of Title 18, United States Code, Section 1029(a)(5).

Sanders admits that he received at least $82,210 in proceeds from his violation
of Count One.

4. Use_of Factual Admissions and Relevant Conduct. The defendant
acknowledges, understands and agrees that the admissions contained in Paragraph 3 and
other portions of this plea agreement will be used for the purpose of determining his guilt
and advisory sentencing range under the United States Sentencing Guidelines
(“U.S.S.G.”), including the calculation of the defendant’s offense level in accordance with
U.S.S.G. § 1B1.3(a)(2). The defendant acknowledges, understands and agrees that the
conduct charged in any dismissed counts of the indictment as well as all other uncharged
related criminal activity may be considered as “relevant conduct” pursuant to U.S.S.G.
§ 1B1.3(a)(2) in calculating the offense level for the charges to which he is pleading guilty.

ae Statutory Penalties. The defendant understands that upon his plea of guilty
to the Count | of the information, charging him with violation of 18 U.S.C. § 1029(a)(5)
(access devices fraud), the maximum penalty the Court may impose is not more than fifteen

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(15) years’ imprisonment, a $250,000 fine, a three (3) year term of supervised release, and
a $100 mandatory special assessment which must be paid in full at the time sentencing.
The defendant further understands that this offense is a Class C felony.

6. Sentencing Procedures. The defendant acknowledges, understands and

 

agrees to the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

Gi in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of up to three (3) years for Count 1; that the Court must
impose a period of supervised release if a sentence of imprisonment of more than
one year is imposed;

d. if the defendant violates a condition of his supervised release, the
Court may revoke his supervised release and impose an additional period of
imprisonment of up to two (2) years without credit for time previously spent on
supervised release for Count 1. In addition to a new term of imprisonment, the
Court also may impose a new period of supervised release, the length of which
cannot exceed three (3) years for Count 1, less the term of imprisonment imposed
upon revocation of the defendant’s first supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

L; any sentence of imprisonment imposed by the Court will not allow for
parole;

g. the Court is not bound by any recommendation regarding the sentence

to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office; and

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h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

1. the defendant agrees that the United States may institute civil, judicial
or administrative forfeiture proceedings against all forfeitable assets in which the
defendant has an interest, and that he will not contest any such forfeiture
proceedings.

j. the defendant agrees to forfeit all interests he owns or over which he
exercises control, directly or indirectly, in any asset that is subject to forfeiture to
the United States either directly or as a substitute for property that was subject to
forfeiture but is no longer available for the reasons set forth in 21 U.S.C. § 853(p).
including, but not limited to, the following specific property: a money judgment in
an amount of not less than $82,210, in United States currency. With respect to any
asset which the defendant has agreed to forfeit, the defendant waives any
constitutional and statutory challenges in any manner (including direct appeal,
habeas corpus, or any other means) to any forfeiture carried out in accordance with
this plea agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment under the Eighth Amendment to the United States
Constitution.

k. the defendant agrees to fully and truthfully disclose the existence,
nature and location of all assets forfeitable to the United States, either directly or as
a substitute asset, in which he, his co-defendants and his co-conspirators have or
had any direct or indirect financial interest, or exercise or exercised control, directly
or indirectly, during the period June 1, 2015, to the present. The defendant also
agrees to fully and completely assist the United States in the recovery and forfeiture
of all such forfeitable assets.

IL the defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before his sentencing.

m. within 10 days of the execution of this plea agreement, at the request
of the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that the
United States will use the financial information when making its recommendation
to the Court regarding the defendant’s acceptance of responsibility.

n. at the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning the
identification and recovery of forfeitable assets and restitution.

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Ts Government’s Agreements. Based upon evidence in its possession at this
time, the United States Attorney’s Office for the Western District of Missouri, as part of
this plea agreement, agrees not to bring any additional charges against defendant for any
federal criminal offenses for which it has venue and which arose out of the defendant’s
conduct described above.

The defendant understands that this plea agreement does not foreclose any
prosecution for an act of murder or attempted murder, an act or attempted act of physical
or sexual violence against the person of another, or a conspiracy to commit any such acts
of violence or any criminal activity of which the United States Attorney for the Western
District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution
of all criminal offenses with which the defendant might be charged is based solely on the
promises made by the defendant in this agreement. If the defendant breaches this plea
agreement, the United States retains the right to proceed with the original charges and any
other criminal violations established by the evidence. The defendant expressly waives his
right to challenge the initiation of the dismissed or additional charges against him if he
breaches this agreement. The defendant expressly waives his right to assert a statute of
limitations defense if the dismissed or additional charges are initiated against him
following a breach of this agreement. The defendant further understands and agrees that if
the Government elects to file additional charges against him following his breach of this

plea agreement, he will not be allowed to withdraw his guilty plea.

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8. Preparation of Presentence Report. The defendant understands the United

 

States will provide to the Court and the United States Probation Office a government
version of the offense conduct. This may include information concerning the background,
character, and conduct of the.defendant, including the entirety of his criminal activities.
The defendant understands these disclosures are not limited to the count to which he has
pleaded guilty. The United States may respond to comments made or positions taken by
the defendant or the defendant’s counsel and to correct any misstatements or inaccuracies.
The United States further reserves its right to make any recommendations it deems
appropriate regarding the disposition of this case, subject only to any limitations set forth
in this plea agreement. The United States and the defendant expressly reserve the right to
speak to the Court at the time of sentencing pursuant to Rule 32(1)(4) of the Federal Rules
of Criminal Procedure.

9, Withdrawal of Plea. Either party reserves the right to withdraw from this
plea agreement for any or no reason at any time prior to the entry of the defendant’s plea
of guilty and its formal acceptance by the Court. In the event of such withdrawal, the
parties will be restored to their pre-plea agreement positions to the fullest extent possible.
However, after the plea has been formally accepted by the Court, the defendant may
withdraw his plea of guilty only if the Court rejects the plea agreement or if the defendant
can show a fair and just reason for requesting the withdrawal. The defendant understands
that if the Court accepts his plea of guilty and this plea agreement but subsequently imposes

a sentence that is outside the defendant’s applicable Sentencing Guidelines range, or

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imposes a sentence that the defendant does not expect, like or agree with, he will not be
permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

b. The applicable Guidelines section for the offense of the conviction is
U.S.S.G. § 2B1.1, which provides for a base offense level of 7, for Count | of the
information;

gi The following sentencing enhancements are applicable and agreed to
between the parties:

1. Enhancement of 6 levels, for a loss of between $40,000 and $95,000,
pursuant to U.S.S.G. §2B1.1(b)(1);

2. Enhancement of 2 levels, for sophisticated scheme, pursuant to
U.S.S.G. §2B1.1(b)(10)(C);

d. The defendant has admitted his guilt and clearly accepted
responsibility for his actions and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a three-level reduction pursuant to §3E1.1(b)
of the Sentencing Guidelines. The Government, at the time of sentencing, will file
a written motion with the Court to that effect, unless the defendant (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

e The parties agree that the Court will determine his applicable criminal
history category after receipt of the presentence investigation report prepared by the
United States Probation Office;

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Ee The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does not
bind the Court or the United States Probation Office with respect to the appropriate
Guidelines levels. Additionally, the failure of the Court to accept these stipulations
will not, as outlined in Paragraph 9 of this plea agreement, provide the defendant
with a basis to withdraw his plea of guilty;

g. The United States agrees to recommend a sentence within the
Guidelines range, and the defendant may request any sentence, including but not
limited to a sentence of probation. The agreement by the parties to not seek a
departure from the Guidelines is not binding upon the Court or the United States
Probation Office, and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
“unreasonable”;

h. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum _ sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
a reasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the indictment. The defendant
also agrees that the Court, in finding the facts relevant to the imposition of sentence,
may consider any reliable information, including hearsay; and,

i. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will
make during his plea colloquy, support the imposition of the agreed-upon
Guidelines calculations contained in this agreement.

ll. Effect of Non-Agreement on Guidelines Applications. The parties
understand, acknowledge and agree that there are no agreements between the parties with
respect to any Sentencing Guidelines issues other than those specifically listed in Paragraph

10, and its subsections. As to any other Guidelines issues, the parties are free to advocate

their respective positions at the sentencing hearing.

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12. Change in Guidelines Prior to Sentencing. The defendant agrees that if

any applicable provision of the Guidelines changes after the execution of this plea

agreement, then any request by defendant to be sentenced pursuant to the new Guidelines

will make this plea agreement voidable by the United States at its option. If the

Government exercises its option to void the plea agreement, the United States may charge,

reinstate, or otherwise pursue any and all criminal charges that could have been brought

but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charge in the information;

C: oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and,

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and

voluntarily waives the following rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

Li, the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

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c. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel:

d. the right to confront and cross-examine the witnesses who testify
against her;

&. the right to compel or subpoena witnesses to appear on his behalf; and,

i the right to remain silent at trial, in which case his silence may not be
used against him.

The defendant understands that by pleading guilty, he waives or gives up those

rights and that there will be no trial. The defendant further understands that if he pleads

guilty,

guilty,

the Court may ask him questions about the offense or offenses to which he pleaded

and if the defendant answers those questions under oath and in the presence of

counsel, his answers may later be used against him in a prosecution for perjury or making

a false statement. The defendant also understands he has pleaded guilty to a felony offense

and, as a result, will lose his right to possess a firearm or ammunition and might be deprived

of other rights, such as the right to vote or register to vote, hold public office, or serve on

a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but does
not include less serious sentencing errors, such as a misapplication of the Sentencing
Guidelines, an abuse of discretion, or the imposition of an unreasonable sentence.

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However, if the United States exercises its right to appeal the sentence imposed as
authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
may, as part of the Government’s appeal, cross-appeal his sentence as authorized by
18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to or
agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offense to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with the conduct charged in the Information and all other
uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine.

o. The defendant will fully and truthfully disclose all assets and property
in which he has any interest, or over which the defendant exercises control directly
or indirectly, including assets and property held by a spouse, nominee or other third
party. The defendant's disclosure obligations are ongoing, and are in force from the
execution of this agreement until the defendant has satisfied the restitution order in
full.

d. Within 10 days of the execution of this plea agreement, at the request
of the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant's acceptance of
responsibility.

é. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning the
identification and recovery of substitute assets and restitution.

I The defendant hereby authorizes the USAO to obtain a credit report
pertaining to his to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

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g. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

h. The defendant certifies that he has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future.

1; In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the defendant's
previously entered pleas of guilty shall remain in effect and cannot be withdrawn.

17. Waiver of FOIA Request. The defendant waives all of his rights, whether
asserted directly or by a representative, to request or receive from any department or agency
of the United States any records pertaining to the investigation or prosecution of this case
including, without limitation, any records that may be sought under the Freedom of
Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his
claims under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other

litigation expenses arising out of the investigation or prosecution of this matter.

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19.  Defendant’s Breach of Plea Agreement. If the defendant commits any

 

crimes, violates any conditions of release, or violates any term of this plea agreement
between the signing of this plea agreement and the date of sentencing, or fails to appear for
sentencing, or if the defendant provides information to the Probation Office or the Court
that is intentionally misleading, incomplete, or untruthful, or otherwise breaches this plea
agreement, the United States will be released from its obligations under this agreement.
The defendant, however, will remain bound by the terms of the agreement, and will not be
allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea
agreement, all statements made by him to law enforcement agents subsequent to the
execution of this plea agreement, any testimony given by him before a grand jury or any
tribunal or any leads from such statements or testimony shall be admissible against him in
any and all criminal proceedings. The defendant waives any rights that he might assert
under the United States Constitution, any statute, Rule 11(f) of the Federal Rules of
Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule
that pertains to the admissibility of any statements made by him subsequent to this plea
agreement.

20.  Defendant’s Representations. The defendant acknowledges that he has
entered into this plea agreement freely and voluntarily after receiving the effective
assistance, advice and approval of counsel. The defendant acknowledges that he is satisfied
with the assistance of counsel, and that counsel has fully advised him of his rights and

obligations in connection with this plea agreement. The defendant further acknowledges

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that no threats or promises, other than the promises contained in this plea agreement, have
been made by the United States, the Court, his attorneys or any other party to induce him
to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and
agree that the above-stated terms and conditions, together with any written supplemental
agreement that might be presented to the Court in camera, constitute the entire plea
agreement between the parties, and that any other terms and conditions not expressly set
forth in this agreement or any written supplemental agreement do not constitute any part
of the parties’ agreement and will not be enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given

their normal and ordinary meanings. The parties further agree that, in interpreting this

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agreement, any drafting errors or ambiguities are not to be automatically construed against

either party, whether or not that party was involved in drafting or modifying this agreement.

TERESA A. MOORE
Acting.United States Attorney

Dated: _to/.2] Jo? |

 

I have consulted with my attorneys and fully understand all of my rights with respect
to the offenses charged in the information. Further, I have consulted with my attorneys
and fully understand my rights with respect to the provisions of the Sentencing Guidelines.
I have read this plea agreement and carefully reviewed every part of it with my attorneys.
I understand this plea agreement and I ). y agree to it.

Dated:_l°/Q) tf]

 

 

I am defendant Joshua Sander’s attorney. I have fully explained to him rights with
respect to the offenses charged in the information. Further, we have reviewed with him
the provisions of the Sentencing Guidelines which might apply in this case. We have
carefully reviewed every part of this plea agreement with him. To my knowledge, Joshua
Sander’s decision to enter into this plea agreement is an informed and voluntary one.

Dated: [o 72) fA ee,

ADAM WOODY
Attorney for Defendant

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